
PER CURIAM.
This cause having been orally argued before the court, the briefs and record on appeal having been read and given full consideration, and appellant having failed to demonstrate reversible error, the judgment of the lower court hereby appealed is affirmed. See Florida Investment Enterprises, Inc., v. Kentucky Company, Inc., (Fla.App.1964) 160 So.2d 733; Ser-Nestler, Inc. v. General Finance Loan Company, (Fla.App.1964) 167 So.2d 230; Seven-Up Bottling Company v. J. N. Rawleigh Company, (Fla.App.1963) 156 So.2d 180.
WIGGINTON, C. J., and CARROLL, DONALD K., and SPECTOR, JJ., concur.
